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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

360 DEGREE EDUCATION, LLC,
d/b/a Cortiva Institute; and THE COALITION
FOR CAREER SCHOOLS,

                                     Plaintiffs,

v.                                                 Case No. 4:24-cv-00508-P

DEPARTMENT OF EDUCATION; and                       Brief in Support of Plaintiffs’ Motion
SECRETARY MIGUEL A. CARDONA, in his                for Order to Show Cause, or in the
official capacity as Secretary of the Department   Alternative, for a Further
of Education,                                      Preliminary Injunction

                                     Defendants.
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                                                INTRODUCTION

         After this Court enjoined the U.S. Department of Education from “enforcement and

implementation of the Bare Minimum Rule,” ECF No. 30 at 15; ECF No. 39 at 1, the Department 1

announced that, in retaliation for the filing of this regulatory challenge, it will strip Plaintiff Cortiva

and other Texas massage schools of federal funding because “the state only approves 500-hour

massage programs, and such institutions should not continue disbursing Title IV funds to students

enrolled in massage programs that exceed the length approved by the state.” ECF No. 44 at 8 (2d

Mecca Decl. ¶ 12). That “Bare Minimum Rule 2.0”—a Department of Education policy to strip

schools of funding for exceeding the State’s bare-minimum licensure requirement—violates the

preliminary injunction. The Court should promptly enter an order for the Department to show

cause why it should not be held in civil contempt. 2

         And even if this retaliatory threat did not violate the preliminary injunction, it would still

be an unlawful agency action the Court should enjoin in its own right. “A court has the inherent

authority to protect its jurisdiction through injunction.” In re Joseph P. Conte Toyota, Inc., 167

F.3d 537 (5th Cir. 1998). The Department is transparently attempting to moot this case through

strongarm tactics against Cortiva and other schools. See ECF No. 43 at 6–10 (Dep’t Mem. in Supp.

of Mot. to Dismiss). If necessary, Plaintiffs could amend their complaint to add new substantive

counts challenging this Bare Minimum Rule 2.0, see generally Rule 15(a)(1)–(2)—but Plaintiffs



1
  Both the Department of Education itself and Education Secretary Miguel Cardona are named Defendants here, but
for simplicity’s sake, Plaintiffs refer here simply to the Department. The distinction is immaterial for present purposes.
2
  Consistent with this Court’s direction, Plaintiffs are contemporaneously filing a brief in opposition to Government
Defendants’ Motion to Dismiss, which will address among other things Plaintiffs Cortiva and the Coalition for Career
Schools’ standing. But given the Department’s bold representations about the retaliatory action it intends to take
against Cortiva and other Texas massage programs—based on the notion that they exceed Texas’s bare-minimum
500-hour requirement—Plaintiffs feel they have no choice but to bring this motion as well. This episode illustrates
the dramatically coercive power that the Department wields over institutions of higher education who accept federal
student aid and the dangers that arise when the Department abuses that power.


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do not believe that is necessary given the Court’s inherent authority. It is not even clear yet whether

the Department intends to follow this policy more broadly or has simply adopted it here as

retaliation against a school that dared to challenge the Bare Minimum Rule.

       There are several reasons why this Bare Minimum Rule 2.0 is unlawful, aside from

violating the preliminary injunction:

       (1)     Contrary to the Department’s assertion here, the state-authorization
               requirement in Title IV of the Higher Education Act (“Title IV” or “HEA”)
               does not mean that a state administrative agency must approve each hour of
               a particular program, and Cortiva readily meets the statutory standard as an
               institution “legally authorized within [Texas] to provide a program of
               education beyond secondary education,” 20 U.S.C. § 1001(a)(2);

       (2)     If the Department really wanted to enforce its novel interpretation, it would
               need to go through negotiated rulemaking;

       (3)     The Department’s stated decision to apply this interpretation to Cortiva and
               other massage programs in Texas, but not to other schools, is
               quintessentially arbitrary and capricious; and

       (4)     The Department’s new retaliatory action against Cortiva, in response to its
               filing of this regulatory litigation, and violates Cortiva’s rights under the
               First Amendment to the United States Constitution.

In light of these fatal defects, the Court should resoundingly reject the Department’s new version

of the Bare Minimum Rule.

       The traditional factors support enjoining the Department from pursuing this threat further.

       First, Plaintiffs are likely to succeed on the merits of at least one, if not all, of the arguments

above. Cortiva is authorized by the Texas Department of Licensing & Regulation (“TDLR”) to

provide post-secondary education in massage therapy, and its Professional Massage Therapy

(“PMT”) Program complies with Texas law; Cortiva and its PMT Program thus fully comply with

Title IV’s state authorization requirements. Defendants’ novel interpretation of the state-

authorization requirement—which is not codified in any statute, regulation, or guidance document,

and appears for the first time in an email attached to the Department’s motion to dismiss, see ECF

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No. 44 at 38–40 (July 19, 2024 Email from Martina Fernandez-Rosario, FSA to Lorrain Sroufe,

TDLR)—is wrong; is not the product of required rulemaking procedures; is arbitrary and

capricious to the extent it is aimed at Cortiva and other Texas massage schools but no one else;

and is plainly governmental retaliation against Cortiva for the protected First Amendment activity

of filing this lawsuit.

        Second, Plaintiffs will suffer irreparable harm absent preliminary relief because, by the

Department’s own telling, this Bare Minimum Rule 2.0 will cause Cortiva to lose access to Title

IV funds for its PMT Program in Arlington, Texas, or to incur unrecoverable compliance costs to

meet the Department’s newly announced standard—the same irreparable injury that this Court

relied upon in issuing a preliminary injunction against the Bare Minimum Rule in the first place.

See ECF No. 30 at 9–13 (Memorandum Opinion & Order).

        Third and fourth, the balance of the equities and the public interest also favor preliminary

relief. As this Court has already noted, “[t]hese factors ‘merge when the Government is the

opposing party,’” id. at 13 (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)), and “‘it is always

in the public interest’ to stop enforcement of unconstitutional or invalid laws,” id. (quoting Jackson

Women’s Health Org. v. Currier, 760 F.3d 448, 458 n.9 (5th Cir. 2014)). As before, if the Court

agrees that Plaintiffs are likely to succeed on the merits and that the Department’s unlawful actions

during the course of this litigation will cause irreparable harm absent injunctive relief, then the last

two pieces fall easily into place.

        Plaintiffs thus seek a show-cause order, or in the alternative, injunctive and other

appropriate preliminary relief to prevent the Department from applying the Bare Minimum Rule

2.0 to Cortiva or other Texas schools. In order to protect the orderly resolution of this litigation—

which the Court has already expressed a desire to resolve promptly—the Court should further



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enjoin the Department from taking any action to deprive Cortiva of Title IV eligibility for student

aid without first affirmatively seeking leave of court. This additional prophylactic measure will

ensure that this litigation does not get sidetracked by any other novel attempts by the Department

to moot out Plaintiffs’ claims.

                                        BACKGROUND

A.      The Court Granted a Preliminary Injunction and Enjoined the Department from
        Implementing or Enforcing the Bare Minimum Rule

        Plaintiffs Cortiva and the Coalition for Career Schools brought this action under the

Administrative Procedure Act to challenge one portion of the Department’s regulations—the “Bare

Minimum Rule”—which amends 34 C.F.R. § 668.14(b)(26)(ii)(A) to prohibit the use of federal

student aid for career programs that exceed the minimum hours required by a state for licensure in

the relevant field. See ECF No. 30 at 1–2 (describing the Bare Minimum Rule). That new rule was

scheduled to take effect on July 1, 2024. But on June 21, 2024, this Court granted Plaintiffs’ motion

for a preliminary injunction and ordered “that enforcement and implementation of the Bare

Minimum Rule, as described herein and contained in the Department of Education’s October 31,

2023 Final Regulations, is hereby ENJOINED pending resolution of this lawsuit.” Id. at 30.

B.      Through an Exhibit to Its Motion to Dismiss, the Department Announced a New
        “Bare Minimum Rule 2.0” That Would Strip Cortiva and Other Texas Massage
        Schools of Federal Funding for Exceeding the State’s Bare-Minimum 500-Hour
        Licensing Requirement

        On July 26, 2024, the Department filed a motion to dismiss, see ECF No. 42, and argued

among other things that Cortiva lacks standing because “Cortiva’s 600-hour PMT Program is

already ineligible for Title IV” based on the Department’s interpretation of 20 U.S.C. § 1001(a)(2).

That section represents part of the definition of an “institution of higher education,” and provides

that “the term ‘institution of higher education’ means an educational institution in any State that



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. . . is legally authorized within such State to provide a program of education beyond secondary

education.” Id. On its face, that statutory provision simply requires that, to be an “institution of

higher education,” the institution must be authorized to provide “a program”—which Cortiva

indisputably is.

       But the Department’s argument is based on a different interpretation of § 1001(a)(2). The

Department states: “Each program that a participating postsecondary institution provides must also

be legally authorized by the state and approved by the institution’s accreditor to be Title IV

eligible.” ECF No. 43 at 7 (Department Brief in Supp. of Mot. to Dismiss) (quotation omitted).

And, the Department says, Cortiva’s PMT Program cannot meet that standard because, even

though the 600-hour program is lawful, TDLR has reviewed and approved only the 500-hour

minimum curriculum, not the additional 100 hours.           In the Department’s July 19, 2024

interpretation, “[w]here states approve programs of a specific length, the Department considers the

state’s authorization to cover programs of that length but not programs that exceed that length.”

ECF No. 44 at 39 (July 19, 2024 Email from Martina Fernandez-Rosario, FSA to Lorrain Sroufe,

TDLR).

       This newly announced policy position is a “Bare Minimum Rule 2.0.” It provides that

“Cortiva, and similarly situated institutions in Texas,” who provide “massage programs in excess

of 500 hours are not eligible for Title IV funding because the state only approves 500-hour massage

programs, and such institutions should not continue disbursing Title IV funds to students enrolled

in massage programs that exceed the length approved by the state.” ECF No. 44 at 8 (2d Mecca

Decl. ¶ 12). This new policy position is not based on any preexisting statute, regulation, or

guidance document; rather, by the Department’s own admission, it is a position developed on an

ad hoc basis in response to Cortiva’s participation in this lawsuit. See ECF No. 44 at 5 (2d Mecca



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Decl. ¶ 8) (making clear that the Department’s position was developed “after the filing of the

Complaint in this case” based on a specific inquiry made to TDLR about Plaintiff Cortiva). And

the principal authority cited in the Department’s legal brief is a declaration from a Department

official prepared specifically for purposes of this litigation. See ECF No. 43 at 7–9.

           Contrary to the Department’s suggestion in its motion-to-dismiss brief, this newly

announced policy is not “entirely separate from the [Bare Minimum Rule].” Id. at 7. It is the exact

same thing. When TDLR authorizes a school to offer massage therapy programs in Texas, it

reviews and certifies only the 500-hour program portion precisely because that is the minimum

baseline required for licensure under state law. App. 000026 (Rubinstein Decl. ¶¶ 3–4); App.

000020–24 (Jones Decl. ¶¶ 13-28); App. 000033–35 (Thompson Decl. Ex. A (July 30, 2024 Email

from TDLR General Counsel Dough Jennings)). For the Department to say that caps an eligible

massage therapy program in Texas at 500 hours is to enforce or implement the Bare Minimum

Rule. The Department’s reliance on the state authorization requirement in § 1001(a)(2) does not

change anything; that is one of the very provisions the Department cited as statutory authority for

promulgating the Bare Minimum Rule in the first place. See U.S. Department of Education,

Financial Responsibility, Administrative Capability, Certification Procedures, Ability To Benefit

(ATB), 88 Fed. Reg. 74,568, 74,638 (Oct. 31, 2023) (“[T]he Department has authority under the

HEA sections 101, 102, and 481(b) to implement and enforce statutory eligibility requirements,

including those relating to GE programs.”). 3

           Moreover, the Bare Minimum Rule 2.0 would render the 150% Rule, which is currently in

effect, null and void. App. 000024 (Jones Decl. ¶ 28) (“If the Department’s interpretation in the

Motion were correct, it would undermine the entire history and interpretation of the 150% Rule,



3
    Section 101 of the Higher Education Act is codified at 20 U.S.C. § 1001.

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going back to 1994.”); App. 000026–27 (Rubinstein Decl. ¶¶ 5–6). After this Court confirmed

that the preliminary injunction is indeed nationwide, the Department issued an announcement

concerning the injunction that states in relevant part: “Therefore, until further notice institutions

must continue to comply with the maximum program length regulations that were in effect prior

to July 1, 2024. The existing regulations limit the maximum program length of GE programs to

150% of a state’s minimum educational requirements for licensure, or 100% of the requirements

of an adjacent state, whichever is greater.” 4 U.S. Dep’t of Educ., Federal Student Aid, Temporary

Injunction on Program Length Regulations (July 3, 2024), https://fsapartners.ed.gov/knowledge-

center/library/electronic-announcements/2024-07-03/temporary-injunction-program-length-

regulations. Cortiva’s PMT Program at 600 hours is still less than 150% of the minimum 500-hour

curriculum required for licensure in Texas. Adjacent states actually require more than 600 hours

for state licensure with respect to massage therapists. The Department seems to ignore that two

adjacent states to Texas, New Mexico and Louisiana, have state licensure requirements for

massage therapists that exceed 500 hours. New Mexico requires a 650-hour “minimum curricula

of massage therapy training” for licensure under New Mexico Administrative Code § 16.7.4.12,

and Louisiana recently increased its requirement to a minimum “six hundred twenty-five hour

instructor-supervised course of studies” through Senate Bill 353, amending La. Code §

37:3556(A)(1)(a)(ii), https://www.legis.la.gov/Legis/ViewDocument.aspx?d=1383047.




4
  The Department for the first time in this announcement refer to the 150% Rule as “the maximum program length
regulations,” and attempt to eschew the longstanding understanding and interpretation of the 150% Rule as a safe
harbor. The 150% Rule has served as a safe harbor at its inception in 1994, both in the notice of proposed rulemaking,
Student Assistance General Provisions & Federal Pell Grant Program, 59 Fed. Reg. 9,526, 9,547-48 (Feb. 28, 1994),
and in the notice of final rule, Student Assistance General Provisions; Federal Family Education Loan Programs;
Federal Pell Grant Program, 59 Fed. Reg. 22,348, 22,387 (Apr. 29, 1994). The 150% Rule as revised in 2020 also
is characterized as a safe harbor in the notice of proposed rulemaking, Distance Education & Innovation, 85 Fed. Reg.
18,638, 18,663 (Apr. 2, 2020). The Department’s new characterization of the 150% Rule as a maximum instead of a
safe harbor also smacks of retaliation. App. 000027 (Rubinstein Decl. ¶ 6); App. 000020–24 (Jones Decl. ¶¶ 14-28).

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       The Bare Minimum Rule 2.0 renders the 150% Rule ineffective and has the same effect

and relies on the same statutory authority as the Bare Minimum Rule that the Court enjoined the

Department from enforcing or implementing.

C.     Cortiva Readily Meets the State Authorization Requirement

       As noted above, Cortiva is indisputably “legally authorized within [Texas] to provide a

program of education beyond secondary education.” 20 U.S.C. § 1001(a)(2). That should be the

beginning and end of the matter, but the Department has made clear that it intends to invoke this

provision to strip Cortiva and other Texas massage schools of eligibility for federal student aid.

That retaliatory threat is doubly flawed because (a) it improperly incorporates an additional

program-authorization requirement into § 1001(a)(2) that Congress never enacted, and (b) the

massage therapy programs at issue, including Cortiva’s 600-hour PMT Program are “authorized”

in Texas within the meaning relevant for purposes of Title IV eligibility.

       The Department appears to conflate the portion of a school’s program curriculum that

TDLR reviews and approves (which is limited to the bare-minimum 500-hour portion) with state-

law “authorization” for a school to offer that program. Nothing in federal law provides that state

authorities must review and approve the entirety of a program’s curriculum for the program to be

Title IV eligible. If it did, that requirement would disqualify most higher-education programs in

the United States.

       It is particularly telling that the Department cites two irrelevant regulations but ignores the

regulation that describes the state authorization requirement. See ECF No. 43 at 8 (citing 34 C.F.R.

§§ 600.2, 668.8(a)). Section 600.2 defines an “educational program” as “[a] legally authorized

postsecondary program of organized instruction or study that . . . (i) [l]eads to an academic,

professional, or vocational degree, or certificate, or other recognized educational credential . . .



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and . . . (ii) [m]ay, in lieu of credit hours or clock hours as a measure of student learning, utilize

direct assessment of student learning . . . .” 34 C.F.R. § 600.2. It says nothing about what it means

to be legally authorized, and Cortiva’s PMT Program indisputably satisfies the credential

requirement it does impose. Section 668.8(a) is even further afield, as it makes no mention of state

law and simply provides that “[a]n eligible program is an educational program that (1) is provided

by a participating institution; and (2) satisfies the other relevant requirements contained in this

section.” Id. § 668.8(a).

       The Department has promulgated a separate regulation which elaborates on the state

authorization requirement and makes no mention of approving curriculum. See 34 C.F.R. § 600.9.

The Department’s brief omits any mention of that regulation. It provides:

       (a)(1) An institution described under §§ 600.4, 600.5, and 600.6 is legally
       authorized by a State if the State has a process to review and appropriately act on
       complaints concerning the institution including enforcing applicable State laws,
       and the institution meets the provisions of paragraphs (a)(1)(i), (a)(1)(ii), or (b) of
       this section.

           (i)(A) The institution is established by name as an educational institution by a
           State through a charter, statute, constitutional provision, or other action issued
           by an appropriate State agency or State entity and is authorized to operate
           educational programs beyond secondary education, including programs leading
           to a degree or certificate.

               (B) The institution complies with any applicable State approval or licensure
               requirements, except that the State may exempt the institution from any
               State approval or licensure requirements based on the institution’s
               accreditation by one or more accrediting agencies recognized by the
               Secretary or based upon the institution being in operation for at least 20
               years.

           (ii) If an institution is established by a State on the basis of an authorization to
           conduct business in the State or to operate as a nonprofit charitable
           organization, but not established by name as an educational institution under
           paragraph (a)(1)(i) of this section, the institution—




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              (A) By name, must be approved or licensed by the State to offer programs
              beyond secondary education, including programs leading to a degree or
              certificate; and

              (B) May not be exempt from the State’s approval or licensure requirements
              based on accreditation, years in operation, or other comparable exemption.

       (b) An institution is considered to be legally authorized to operate educational
       programs beyond secondary education if it is exempt as a religious institution from
       State authorization under the State constitution or by State law.

Id. Cortiva readily meets the requirements of § 600.9. The Department concedes that TDLR

licenses Cortiva’s PMT Program. See ECF No. 44 at 4 (2d Mecca Decl. ¶ 4) (“Texas location is

licensed by the Texas Department of Licensing and Regulation (TDLR).”). TDLR also provides a

process to review and appropriately act on complaints concerning the institution including

enforcing applicable State laws under 16 Texas Administrative Code § 117.62(c)(2), requiring

schools to inform students that complaints may be made to the TDLR at a specific address,

telephone    number,    or    website.       See    TDLR     Complaints     and    Enforcement,

https://www.tdlr.texas.gov/complaints-and-enforcement/

       While the Department has gotten spun up over its misunderstanding of emails exchanged

with TDLR officials, the state agency’s General Counsel remains steadfast that Cortiva is

authorized to provide post-secondary education in massage therapy in Texas, including through its

600-hour PMT Program. See App. 000033–35 (Thompson Decl. Ex. A (July 30, 2024 Email from

TDLR General Counsel Dough Jennings)) (“Because the Cortiva Institute is licensed by TDLR as

a massage therapy school, its license is in good standing, and our agency has approved its base

curriculum, the school is legally authorized to offer massage therapy education within Texas.”).

That is simply a separate question from whether TDLR reviews and an approves the full

curriculum or only the 500-hour portion that constitutes the State’s bare-minimum requirement.




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                                         ARGUMENT

         In response to Cortiva’s filing of this lawsuit, and after this Court enjoined it from

implementing or enforcing the Bare Minimum Rule, the Department developed the Bare Minimum

Rule 2.0 to inflict the same consequences, for the same reasons, citing the same legal authority.

This new retaliatory policy threatens to strip Cortiva and other Texas massage schools of Title IV

eligibility, it does so because they offer programs beyond the 500-hour minimum that Texas

requires (and thus reviews), and it invokes the state authorization requirement in 20 U.S.C.

§ 1001(a)(2). That Bare Minimum Rule 2.0 violates the Court’s preliminary injunction, and the

Court should issue an order to show cause why the Department should not be held in civil

contempt. Or, if the Court concludes that the existing preliminary injunction does not cover the

Bare Minimum Rule 2.0, it should issue an injunction that does. The Department should not be

permitted to threaten Plaintiffs for participating in this litigation and distract from the timely

resolution of this regulatory challenge based on a specious new policy position that is severely

legally flawed.

I.       The Bare Minimum Rule 2.0 Violates the Preliminary Injunction

         The most straightforward problem with the Department’s new policy position is that it

violates the Court’s existing preliminary injunction. As illustrated above, the new policy inflicts

the same consequence (loss of Title IV eligibility), for the same reason (exceeding the 500-hour

minimum that Texas law requires), citing the same authority (20 U.S.C. § 1001(a)(2)) as the

enjoined Bare Minimum Rule.

         The Court “may enforce its orders through civil contempt, which is intended to compel

obedience to a court order.” Jostens, Inc. v. Hammons, No. 4:20-CV-00225, 2021 WL 5578671,

at *2 (E.D. Tex. Nov. 29, 2021) (citing In re Bradley, 588 F.3d 254, 263 (5th Cir. 2009)). “‘A



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party commits contempt when he violates a definite and specific order of the court requiring him

to perform or refrain from performing a particular act or acts with knowledge of the court’s order.’”

Id. (citing SEC v. First Fin. Grp. of Tex., Inc., 659 F.2d 660, 669 (5th Cir. 1981)). A finding of

civil contempt is appropriate where a party shows “by clear and convincing evidence that: (1) a

court order is or was in effect; (2) the order requires certain conduct; and (3) the opposing party

fails to comply with the court order.” Id. (citing Martin v. Trinity Indus., Inc., 959 F.2d 45, 47 (5th

Cir. 1992)). Neither “good faith” nor “substantial compliance” is a defense. Id.

       Here, there is no question that the Court’s preliminary injunction, issued June 21, 2024,

was in effect on July 26, 2024, when the Department announced the Bare Minimum Rule 2.0

policy through the filing of its motion to dismiss. And it remains in effect today. Therefore, the

only question is whether the Department avoided violating the preliminary injunction by casting

its new policy position as an interpretation and application of 20 U.S.C. § 1001(a)(2) wholly

separate from the Bare Minimum Rule. See ECF No. 43 at 7. Plaintiffs respectfully submit that the

Department’s new policy position, developed in retaliation against Cortiva for bringing this

lawsuit, constitutes a clear violation of the Court’s Order against implementation or enforcement

of the Bare Minimum Rule. ECF No. 30 at 15; ECF No. 39 at 1.

       The Department’s claimed restraint in bringing an enforcement action is irrelevant. Though

the representation appears nowhere in the submission made to the Court on the Department’s

motion to dismiss, opposing counsel has represented by e-mail that the Department does not intend

to take any enforcement action against Cortiva at least until the pending motion to dismiss is

resolved. See Certificate of Conference; but see ECF No. 43 at 4 (Department Brief in Supp. of

Mot. to Dismiss) (“[T]the Department has concluded that Cortiva’s 600-hour massage program is

ineligible for Title IV under existing law.”); ECF No. 44 at 8 (2d Mecca Decl. ¶ 12) (“[T]he



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Department will soon notify Cortiva, and similarly situated institutions in Texas, that massage

programs in excess of 500 hours are not eligible for Title IV funding . . . and such institutions

should not continue disbursing Title IV funds . . . .”). Even if the Court takes counsel’s

representations at face value, they do not change the calculus. First, the preliminary injunction

prohibits the Department from “enforcement and implementation of the Bare Minimum Rule.”

ECF No. 30 at 30 (emphasis added). The Department may not be bold enough to enforce the Bare

Minimum Rule 2.0 at this stage, but it is plainly taking steps to implement it—including by

announcing the policy publicly through its legal filings with the attendant in terrorem effect of

notifying schools that the Department thinks they may be disbursing federal funds illegally.

Second, it is well established that the target of an agency’s regulatory authority generally does not

have to sit around and “wait for the Agency to drop the hammer.” Sackett v. EPA, 566 U.S. 120,

127 (2012).

       The Court has broad discretion to craft an appropriate remedy to coerce compliance with

its order. See generally WRIGHT & MILLER, Enforcement of and Collateral Attack on Injunctions,

11A FED. PRAC. & PROC. CIV. § 2960 (3d ed.). At this stage, Plaintiffs respectfully submit that the

Court should not only order the Department anew not to enforce or implement the Bare Minimum

Rule 2.0 but also enjoin the Department from taking any action to deprive Cortiva of Title IV

eligibility for student aid without first affirmatively seeking leave of court. This prophylactic

measure will ensure that the Department continues to comply with the preliminary injunction. It

will also help to ensure that this litigation does not get sidetracked by any other novel attempts by

the Department to moot out Plaintiffs’ claims.




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II.    Even If the Bare Minimum Rule 2.0 Did Not Violate the Existing Preliminary
       Injunction, the Court Should Enjoin the Department from Implementing or
       Enforcing It Because It Is Unlawful

       If the Court were to conclude that the existing preliminary injunction does not cover the

Bare Minimum Rule 2.0, Plaintiffs respectfully ask the Court to enjoin the Department from

implementing or enforcing it now. The Court has “inherent authority to protect its jurisdiction

through injunction.” In re Joseph P. Conte Toyota, Inc., 167 F.3d 537 (5th Cir. 1998). The exercise

of that authority is warranted here where, at best, the Department is deploying a strongarm tactic

to end-run the scope of the preliminary injunction in an effort to moot this case. See ECF No. 43

at 6–10 (Department Brief in Supp. of Mot. to Dismiss). If the Court thought it necessary, Plaintiffs

could amend their complaint to add a substantive count challenging the Bare Minimum Rule 2.0

as a separate agency action. But Plaintiffs submit that such an amendment would be unnecessary

and would cause unnecessary delay. The Court has ample authority as things stand to enjoin the

Department from enforcing or implementing this new retaliatory policy position.

       A.      Plaintiffs Would Likely Succeed in Challenging the Bare Minimum Rule 2.0

       If Plaintiffs ever need to challenge the Bare Minimum Rule 2.0 on the merits, they are

likely to succeed. This reverse-engineered policy suffers multiple fatal defects separate and apart

from the fact that it violates the existing preliminary injunction.

       First, as explained above, the state authorization requirement in 20 U.S.C. § 1001(a)(2)

does not mean that a state administrative agency must approve each hour of a particular program,

and Cortiva readily meets the statutory standard as an institution “legally authorized within [Texas]

to provide a program of education beyond secondary education,” id. The Department

acknowledges that Cortiva is legally authorized to provide a PMT Program in Texas but contends

that Cortiva is authorized to provide only a 500-hour PMT Program in Texas. Title IV, however,



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does not reference or include any program length requirements in its definition of an institution of

higher education eligible for Title IV funds. See 20 U.S.C. § 1001(a)(2). Nor does the Department

include program length requirements in its regulatory description of the state authorization

requirement. See 34 C.F.R. § 600.9. Even if Title IV did require state authorization for program

length, Texas law clearly authorizes a PMT Program longer than 500 hours to operate in Texas.

Under the plain meaning of Title IV and its implementing regulations, Cortiva is an institution of

higher education eligible to receive Title IV funds because Cortiva is legally authorized to provide

its PMT Program in Texas.

       If there were any residual doubt, TDLR confirms that a PMT Program complies with the

requirements for licensure, specifically offering a 500-hour program, under Texas Occupations

Code § 455.156 and 16 Texas Administrative Code § 117.58. A PMT Program that offers a

program longer than 500 hours is still a legally authorized program in Texas, at least so as long as

the school furnishes to students the form required under Texas Occupations Code § 455.203(c)

and 16 Texas Administrative Code § 117.62(c) and obtains a signed form from the students. Such

a form would not be necessary or required if a PMT Program longer than 500 hours were not

legally authorized to operate in Texas. The Department cites no legal authority—just the

declaration of its own official, prepared for purposes of this litigation—for the proposition that

these sorts of state-law requirements are incorporated into § 1001(a)(2). Cf. Kisor v. Wilkie, 588

U.S. 558, 579 (2019) (“[A] court should decline to defer to a merely convenient litigating position

or post hoc rationalization advanced to defend past agency action against attack,” and “a court may

not defer to a new interpretation, whether or not introduced in litigation, that creates unfair surprise




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to regulated parties.”) (cleaned up). 5 But even if they were, Cortiva and its PMT Program would

satisfy them.

         Second, if the Department really wanted to enforce its novel interpretation, it would need

to go through negotiated rulemaking. The Administrative Procedure Act generally requires notice-

and-comment rulemaking before an agency may issue “legislative rules”—i.e., rules that “bind

private parties.” Kisor, 588 U.S. at 583 (quotation omitted). There is room for an agency to adopt

an “interpretive” rule without notice-and-comment rulemaking, see generally Perez v. Mortg.

Bankers Ass’n, 575 U.S. 92 (2015), but those rules “are not supposed to ‘have the force and effect

of law,’” Kisor, 588 U.S. at 583 (quoting Perez, 575 U.S. at 103). The Department’s entire

argument here is premised on the notion that its new interpretation applies to and binds Cortiva,

such that Cortiva lacks standing. See ECF No. 43 at 6–9. But the Department cannot make that

argument where, as here, its new interpretation is not reflected in a legislative rule that has gone

through notice-and-comment rulemaking. And given the particularities of the Higher Education

Act, the Department would need to put its new policy position through negotiated rulemaking in

particular. See 20 U.S.C. § 1098a(b)(1).

         Third, the Department’s stated decision to apply this interpretation to Cortiva and other

massage programs in Texas, but not to other schools, is quintessentially arbitrary and capricious.

The Department has announced that it will take action against Cortiva and other massage therapy

schools in Texas, see ECF No. 44 at 8 (2d Mecca Decl. ¶ 12), it apparently has no plans to apply

its novel interpretation of § 1001(a)(2) consistently to other States or other types of programs,

including within Texas. Taken to its logical conclusion, this rule would threaten the eligibility of


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  See also Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2263 (2024) (“When the best reading of a statute is that
it delegates discretionary authority to an agency, the role of the reviewing court under the [Administrative Procedure
Act] is, as always, to independently interpret the statute and effectuate the will of Congress subject to constitutional
limits.”).

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all manner of higher-education programs, including programs at non-profit four-year colleges. But

the Department is arbitrarily limiting its focus to Cortiva and similarly situated Texas schools—

transparently because Cortiva dared to bring this case challenging the Bare Minimum Rule.

Moreover, because the Department hastily adopted this policy in reaction to this lawsuit, it has

wholly failed to grapple with important aspects of the issue. See Dep’t of Com. v. New York, 588

U.S. 752, 783-84 (2019); Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins., 43

U.S. 29, 43 (1983) (“[T]he agency must examine the relevant data and articulate a satisfactory

explanation for its action including a ‘rational connection between the facts found and the choice

made . . . [A]n agency rule would be arbitrary and capricious if the agency…entirely failed to

consider an important aspect of the problem.”); Texas v. Biden, 646 F. Supp. 3d 753, 777 (N.D.

Tex. 2022) (A federal agency’s “decisionmaking based on ‘policy preferences’ cannot replace

required reasoned decisionmaking”).

       In particular, the Department cannot sensibly explain how Texas law permits Cortiva, a

licensed massage therapy school, to operate its 600-hour PMT Program, see App. 000033–35

(Thompson Decl. Ex. A (July 30, 2024 Email from TDLR General Counsel Doug Jennings)), and

yet the program is not “authorized” within the meaning of federal law.

       Finally, the Department’s new retaliatory action against Cortiva, in response to its filing

of this regulatory litigation, violates Cortiva’s rights under the First Amendment to the United

States Constitution.

       The First Amendment “‘prohibits government officials from subjecting an individual to

retaliatory actions’ for engaging in protected speech.” Nieves v. Bartlett, 587 U.S. 391, 398 (2019)

(quoting Hartman v. Moore, 547 U.S. 250, 256 (2006)). Filing lawsuits and criticizing public

officials constitute protected speech. Lozman v. City of Riviera Beach, 585 U.S. 87, 101 (2018).



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“[W]hen nonretaliatory grounds are in fact insufficient to provoke the adverse consequences, . . .

retaliation is subject to recovery as the but-for cause of official action offending the Constitution.”

Hartman, 547 U.S. at 256. “To prevail on such a claim, a plaintiff must establish a ‘causal

connection’ between the government defendant’s ‘retaliatory animus’ and the plaintiff’s

‘subsequent injury.’” Nieves, 587 U.S. at 398. The issue is whether the Department would reach

the same decision absent Plaintiff Cortiva’s protected speech in filing this lawsuit. Mt. Healthy

City Bd. of Ed. v. Doyle, 429 U.S. 274, 283-84 (1977).

       The Department admits that it reached the decision to cut off Plaintiff Cortiva’s federal

funds under Title IV only as a result of the instant lawsuit. Shari Mecca, Case Manager for Federal

Student Aid’s Multi-Regional and Foreign Schools Participation Division, clearly states in her

declaration: “On June 6, 2024, after the filing of the Complaint in this case, I contacted TDLR to

see if Cortiva had submitted an application to reduce the number of hours in its Massage Program

from 600 to 500, the minimum required for licensure, based on the Department’s revised program

length provision, 34 C.F.R. § 668.448(b)(26)(ii)(A), that was set to go into effect on July 1, 2024.”

ECF No. 44 at 4 (2d Mecca Decl. ¶ 8). As a result of this lawsuit, the Department contacted the

TDLR to learn whether Cortiva was seeking to comply with the Bare Minimum Rule that is now

preliminarily enjoined nationwide.

       The Department further acknowledges that the TDLR allegedly notified them that it “‘will

not and cannot approve any massage, barber, or cosmetology course for more than the required

hours of education for licensure.’” ECF No. 43 at 7 (quoting ECF No. 44 (2d Mecca Decl. ¶ 11)).

Nonetheless, the Department is scrutinizing only massage therapy programs in Texas and has

turned a blind eye to cosmetology and barber programs. ECF No. 43 at 5 (stating Government

Defendants’ intentions to conduct “a statewide review because of the likelihood that other Texas



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massage programs” may be ineligible for Title IV funds). This focus on Cortiva’s massage therapy

program which is at issue in the instant lawsuit and on the massage therapy programs of Cortiva’s

peer institutions in Texas is clearly retaliatory.

        As a result of this lawsuit, the Department has misconstrued Texas law to prohibit a

massage therapy program longer than 500 hours and concluded such a program is not legally

authorized in Texas, even though the TDLR continues to allow Cortiva’s PMT Program to operate

in Texas. The Department acknowledges that it will cut off Cortiva’s federal funds under Title IV

for its massage therapy program and will review other massage therapy programs in excess of 500

hours in Texas to determine whether their federal funds should be cut off too. The Department also

insinuates—but does not directly say—that it may fine and seek to recoup funds from Plaintiff

Cortiva and similarly situated massage therapy programs in Texas for alleged operating a massage

therapy program that is not legally authorized in Texas. ECF No. 44 at 7 (2d Mecca Decl. ¶ 12);

ECF No. 44 at 39 (July 19, 2024 Email from Martina Fernandez-Rosario, FSA to Lorrain Sroufe,

TDLR). The Department does not even try to hide its retaliatory motive to destroy standing for

Cortiva’s massage therapy program as well as other similarly situated massage therapy programs

in Texas and to chill their First Amendment rights to challenge the Bare Minimum Rule.

                                           *         *    *

        Any one of these infirmities is a sufficient basis to enjoin the Department from enforcing

or implementing the Bare Minimum Rule 2.0.

        B.      Absent an Injunction, Plaintiffs Will Suffer Irreparable Harm

        Plaintiffs are entitled to injunctive relief because they will suffer irreparable harm without

it. Indeed, by the Department’s own telling, this Bare Minimum Rule 2.0 will cause Cortiva to lose

access to Title IV funds for its PMT Program in Arlington, Texas, or at a minimum to incur



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unrecoverable compliance costs to meet the Department’s newly announced standard. See ECF

No. 44 at 8–9 (2d Mecca Decl. ¶ 12). That is the same irreparable injury that this Court relied upon

in issuing a preliminary injunction against the Bare Minimum Rule. See ECF No. 30 at 9–13

(Memorandum Opinion & Order).

       Moreover, while the Court expressed some skepticism that the Bare Minimum Rule itself

would “threaten[] the very existence of [Cortiva’s] business,” Wis. Gas Co. v. FERC, 758 F.2d

669, 674 (D.C. Cir. 1985), the Department’s latest retaliatory threat raises the stakes. Cortiva will

likely need to either discontinue its PMT Program, which is its largest program, or to shut down

its doors in Arlington altogether if the Department cuts off all funds under Title IV for the PMT

Program. Additionally, Plaintiff Coalition for Career Schools includes at least one other massage

school in Texas that likely will be impacted by the Government Defendants’ “review” of massage

therapy programs in Texas.

III.   The Balance of the Equities and Public Interest Favor Entering A Preliminary
       Injunction or Temporary Restraining Order

       The last two elements of the injunctive-relief analysis—which “merge when the

Government is the opposing party,” Nken v. Holder, 556 U.S. 418, 435 (2009)—also favor entering

a preliminary injunction or temporary restraining order.

       The Court must determine “the relative harm to both parties if the injunction is granted or

denied.” Def. Distrib. v. U.S. Dep’t of State, 838 F.3d 451, 459 (2016). Here, Cortiva will bear the

brunt of the relative harm because the Department threatens to withhold its Title IV funds as a

result of filing this lawsuit. The Department has correctly recognized that Cortiva and other Texas

schools are eligible for Title IV funding for years. Cortiva has operated the same PMT Program

since at least 2019 and never received any pushback from the Department that its PMT Program

did not comply with federal or state law. Yet, after filing this lawsuit, the Department discerned a


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new interpretation to its prior regulations that would result in the same harm as that which Cortiva

complained of. In comparison, the only harm to the Department would be to no longer fund

Cortiva’s PMT Program, something this Court has held is not enough to allow the Department to

enforce an arbitrary and capricious rule. See ECF No. 30 at 14 (noting the “disparity in the[]

alternative outcomes” for the Department and Plaintiffs favored entering an injunction).

       This Court has recognized that the key inquiry of this analysis is what will result in the

least harm and preserve the status quo. See Chamber of Com. of United States v. Consumer Fin.

Prot. Bureau, No. 4:24-CV-00213-P, 2024 WL 2310515, at *3 (N.D. Tex. May 10, 2024) (“The

Fifth Circuit usually goes with the ‘do-no-harm’ approach, so the Court applies it here. Again, as

the Final Rule has not yet gone into effect, the status quo would necessarily be preserved by

granting injunctive relief.” (citation omitted)); see also Morgan v. Fletcher, 518 F.2d 236, 239 (5th

Cir. 1975) (“The function of a preliminary injunction is merely to preserve the status quo until the

merits of a case can be adjudicated . . . .”). Further, “it is always in the public interest” to stop

enforcement of unconstitutional or invalid laws. See Jackson Women’s Health Org. v. Currier,

760 F.3d 448, 458 n.9 (5th Cir. 2014). Applying these principles, the Court should find that the

interest factors favor issuing a preliminary injunction or temporary restraining order preventing

the Department from withholding Title IV funds from Cortiva and other Texas-based proprietary

schools covered by the 150% Rule, pending final resolution of Plaintiffs’ claims.




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                                          CONCLUSION

       The Court should promptly enter an order for the Department to show cause why it should

not be held in civil contempt. In the alternative, the Court should further enjoin the Department

from taking any action to deprive Cortiva of Title IV eligibility for student aid without first

affirmatively seeking leave of court.

Dated: August 1, 2024                   Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 1, 2024, I caused the foregoing to be filed with the Clerk of

the U.S. District Court for the Northern District of Texas using the Court’s CM/ECF system, which

will electronically serve copies of the same on counsel for all parties.

                                              /s/ Farnaz Farkish Thompson
                                              Farnaz Farkish Thompson




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